Case 2:Ol-cv-02373-.]PI\/|-de Document 2134 Filed 05/24/05 Page 1 of 7 Page|D 3265

UNITED STA TES DIS'I'RICT COURT

PUED§W

 

WESTERNDISTRICT OF TENNESSEE 05?-*?:1‘:' 21; FHJ?= 19

WESTERN DIVISION

MEDTRONIC SOFAMOR DANEK,

Plaintiff,
v.

GARY K. MICHELSON, M.D.
KARLIN TECHNOLOGY, INC.

Defendants.

f

INC.

and

 

GARY K. MICHELSON, M.D.
KARLIN TECHNOLOGY, INC.

Counterclaimants,

V.

MEDTRONIC SOFAMOR DANEK,

Counterdefendant.

and

INC.

 

GARY MICHELSON, M.D.,

Third Party Plaintiff,

V .

SOFAMOR DANEK HOLDINGS,

INC.

Third Party Defendant.

I

 

GARY K. MICHELSON, M.D.
KARLIN TECHNOLOGY, INC.

Counterplaintiffs,

V.

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MEDTRONIC SOFAMOR DANEK,

and MEDTRONIC, INC.,

Counterdefendants.

and

INC.

~.._,~_._,~.._/\-._r-._/-._,V\_.-~_/~__,~__¢\._¢~.._/\_/~_/~_/~_/~_/\_/-_./-_.¢\_/~_/~_/\/\_/~_/~_/v`,,\_,`_,`_/`_/~_/~_,`_,V`_/V`_,`_,\_,

 

JUDGMENT IN A CIVIL CASE

CASE NO: 01-2373 Ml/V

CONSOLIDATED WITH
CASE NO. 03-2055

 

 

Case 2:01-cv-O2373-.]PI\/|-de Document 2134 Filed 05/24/05 Page 2 of 7 Page|D 3266

This action having been settled by all the parties:

IT IS SO ORDERED AND ADJUDGED

in accordance with the

Stipulated Dismissal With Prejudice filed May 18, 2005, this case

is DISMISSED With prejudice.
COsts.

APPROVED:

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ON PHIPPS MCCALLA
UN TED STATES DISTRICT COURT

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Da:'eO

Each party shall bear its Own

ROB`EHT R. D! TF|OLlO

 

Clerk cf Court

51de

Deputy Cler%

     

UNITE sTTEs DsRTIC COURT - EsTERN ISRICT oF TENNESEE

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This notice confirms a copy of the document docketed as number 2134 in
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US DISTRICT COURT

